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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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WESTERN DIVISION
RICHARD QUACKENBUSH,
Plaintiff, Case No.: 03-2814 D
v.
UNITED STATES OF AMERICA,
Defendant.

 

ORDER DENYING MOTION FOR RELEASE PENDING REVIEW

 

Bel"ore the Court is the motion ofPlaintiffRichard Quackenbush for release pending review

of his petition pursuant to 28 U.S.C. § 2255. The Government has filed a response in opposition to

the motion. Upon review of the motion and the entire case file, the Court finds that cause does not

exist for relief

Accordingly, Defendant’s motion for release is DENIED.

IT ls so oRDERED this [ 7 `”` day of:m% 2005.

 

UNITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:03-CV-028l4 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

